           Case 23-70093-AKM-13                       Doc 40         Filed 06/02/24              EOD 06/03/24 00:18:37                       Pg 1 of 2
                                                              United States Bankruptcy Court
                                                               Southern District of Indiana
In re:                                                                                                                 Case No. 23-70093-AKM
James Leland Walters, Jr.                                                                                              Chapter 13
Heather L Walters
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0756-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: May 31, 2024                                               Form ID: SF00200                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 02, 2024:
Recip ID                 Recipient Name and Address
db/jdb                 + James Leland Walters, Jr., Heather L Walters, 628 E Delaware Street, Evansville, IN 47711-6102

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 02, 2024                                            Signature:           /s/Gustava Winters
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                         UNITED STATES BANKRUPTCY COURT                  SF00200 (rev 11/2020)
                               Southern District of Indiana
                         101 NW Martin Luther King Jr Blvd Rm 352
                                  Evansville, IN 47708
In re:

James Leland Walters Jr.,                             Case No. 23−70093−AKM−13
Heather L Walters,
            Debtors.

                                  NOTICE OF HEARING

A Response to Objection to Claim # 19 for Deaconess Hospital was filed on May 30,
2024, by Debtor James Leland Walters Jr. and Joint Debtor Heather L Walters. The
Court, after reviewing this document, determines that a hearing is required.

NOTICE IS GIVEN that a hearing will be held as follows:

         Date: June 12, 2024
         Time: 10:45 AM Central
         Place: Federal Building
                101 NW Martin Luther King Jr Blvd Rm 359
                Evansville, IN 47708

Motions for continuance must be filed no later than 7 days prior to the hearing. Motions
for continuance filed less than 7 days prior to the hearing will be granted only upon a
showing of good cause. Every motion for continuance must indicate whether opposing
counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding the request for continuance.

Any referenced document can be found at pacer.insb.uscourts.gov or may be requested
from the filing parties.

Dated: May 31, 2024                           Eric R. Kleis
                                              Clerk, U.S. Bankruptcy Court
